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             EXHIBIT 11
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 7
                    IN THE SUPERIOR COURT OF THE STATE OF ARIZONA
 8
                            IN AND FOR THE COUNTY OF MARICOPA
 9

10        Paul Johnson Drywall, Inc.;                     No. CV2021-011077
          Johnson 2013 Irrevocable Trust, dated
11        December 28, 2013; and RCJ Irrevocable           MOTION FOR LEAVE TO FILE
          Trust, dated April 29, 2010,                           UNDER SEAL
12
                              Plaintiffs,                       (Assigned to the Honorable
13                                                                 Timothy Thomason)
          v.
14
          Defendant Limited Partnership,
15
                              Defendant.
16

17             Pursuant to Rule 5.4 of the Arizona Rules of Civil Procedure, Plaintiffs seek the
18   Court’s leave to file under seal Plaintiffs’ First Amended Complaint.
19             The First Amended Complaint contains and refers to information that may be
20   protected by the confidentiality provisions of written agreements between the parties.
21   Plaintiffs’ counsel has been unable to obtain a stipulation to this Motion and this Motion
22   should therefore be considered opposed and is accompanied by a Rule 7.1(h) good faith
23   consultation certificate.
24   I.        Legal Authority
25             Courts may restrict public access to records in the “interests of confidentiality
26   [and] privacy.” Ariz. R. Sup. Ct. 123(c)(1); Nixon v. Warner Communications, Inc., 435
27   U.S. 589, 598- 99 (1978) (recognizing that public access is not absolute). This Court may
28   order that Plaintiffs’ motion be filed under seal if it finds:
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 1          (A) an overriding interest exists that supports filing the document under
            seal and overcomes the right of public access to it; (B) a substantial
 2
            probability exists that the person seeking to file the document under seal
 3          (or another person) would be prejudiced if it is not filed under seal; (C) the
            proposed restriction on public access to the document is no greater than
 4          necessary to preserve the confidentiality of the information subject to the
 5          overriding interest; and (D) no reasonable, less restrictive alternative exists
            to preserve the confidentiality of the information subject to the overriding
 6          interest.
 7   Ariz. R. Civ. P. 5.4(c)(2).
 8   II.    The Court Should Grant Plaintiffs’ Motion
 9          There is good cause for granting leave to file the First Amended Complaint under
10   seal because the subject of the litigation is a proposed business venture between Plaintiffs
11   and Defendant that involves confidential business information, and the parties entered into
12   a nondisclosure agreement (“NDA”) and a letter of intent (“LOI”) related to this venture
13   that contain certain confidentiality provisions protecting this information.
14          Previously, Plaintiffs filed this lawsuit with a “John Doe” defendant. Plaintiffs
15   have an overriding interest in being able to pursue this lawsuit, and Defendant must be
16   named at some point to advance Plaintiffs’ claims in this lawsuit. In an abundance of
17   caution in doing so, Plaintiffs request that the Court grant leave to file under seal
18   Plaintiffs’ First Amended Complaint naming the Defendant until the parties can agree to
19   the scope of the parties’ confidentially obligations or the Court makes a determination
20   thereof. “When scrutinizing the actions of a private party rather than the actions of the
21   government, privacy interests weigh more heavily.” Ctr. for Auto Safety v. Goodyear
22   Tire & Rubber Co., 247 Ariz. 567, 573 ¶ 26 (App. 2019) (citing Lake v. City of Phx., 222
23   Ariz. 547, 549 ¶ 7 (2009)). The Parties’ interests here overcome the right of public access
24   to the limited information that will be unavailable to the public.
25          Furthermore, because Defendant has not responded affirmatively to requests to
26   stipulate to file this matter under seal, and because Defendant must be named at some
27   point to advance Plaintiffs’ claims in this lawsuit, there is no less restrictive means that
28   would suffice other than filing the First Amended Complaint under seal and keeping


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 1   Defendant’s identity confidential from the public docket until the Court can determine
 2   the scope of the parties’ confidentiality obligations.
 3   III.    Conclusion
 4           For the foregoing reasons, Plaintiffs respectfully request that this Court grant this
 5   Motion. A proposed form of order accompanies this Motion.
 6           DATED this 19th day of July, 2021.
 7                                               OSBORN MALEDON, P.A.
 8                                               By /s/R. Douglas Dalton
                                                    R. Douglas Dalton
 9                                                  William D. Furnish
                                                    Bryce Talbot
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                                                 Attorneys for Plaintiffs
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13
     This document was electronically filed
14   and copy delivered*/e-served via the
     AZTurboCourt eFiling system this 19th day
15
     of July, 2021, on:
16
     Honorable Timothy Thomason
17   Maricopa County Superior Court
18   101 West Jefferson, ECB-713
     Phoenix, Arizona 85003
19

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     /s/Kelly Dourlein
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